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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

SCOTT WILLIAM CARTLIDGE,

            Plaintiff,
v.                                          Case No.: 1:24cv82-MW/ZCB

FRANK BISIGNANO,
Commissioner of the Social
Security Administration,

          Defendant.
_________________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 19, and has also reviewed de novo Plaintiff’s objections,

ECF No. 20. Notwithstanding Plaintiff’s objections, this Court agrees with the

Magistrate Judge’s conclusion that substantial evidence supported the ALJ’s

decision. Neither the Magistrate Judge, nor this Court, may reweigh the evidence in

reviewing the ALJ’s decision—however, that is essentially the task Plaintiff asks

this Court to undertake in reviewing the report and recommendation.

       Accordingly,

      IT IS ORDERED:

      The report and recommendation, ECF No. 19, is accepted and adopted, over

the Plaintiff’s objections, as this Court’s opinion. The Clerk shall enter judgment
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stating, “The Commissioner’s decision is AFFIRMED, and judgment is entered in

the Commissioner’s favor under sentence four of 42 U.S.C. § 405(g).” The Clerk

shall close the file.

       SO ORDERED on May 19, 2025.

                                   s/Mark E. Walker                   ____
                                   Chief United States District Judge




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